                             UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
         Plaintiff,                              )
                                                 )
 v.                                              )   No. 1:12-cr-00008
                                                 )
 TONYA HAMPTON,                                  )
                                                 )
         Defendant.                              )

                         MEMORANDUM OPINION AND ORDER

        Tonya Hampton’s unopposed Motion and Supplemental Motion for Compassionate

Release are pending before the Court. (Doc. Nos. 74 and 77). Ms. Hampton’s combination of Type

II diabetes mellitus, obesity, and hypertension shows a serious medical or physical condition when

considering her elevated risk of serious illness from COVID-19. U.S.S.G. § 1B1.13 n.1(A)(ii);

(See Doc. No. 81 at 62–63). The Court agrees.

        The Court also finds that the 18 U.S.C. § 3553(a) factors support her compassionate

release. Ms. Hampton’s conviction of conspiracy to possess with intent to distribute and

distribution of crack cocaine was serious, however it was non-violent, did not involve a weapon,

and she was responsible for only 1.94 grams of crack cocaine. (Presentence Investigation Report

(“PSR”) ¶ 11). She also had several previous drug felony convictions for relatively small amounts

of cocaine or crack cocaine. (Id. ¶¶ 29–30, 34). Before her incarceration, Ms. Hampton had a

history of drug use without treatment. (PSR ¶¶ 58–59). In custody however, she has completed

drug education and drug treatment programs. (See Doc. No. 74-1 at 2–4). She has also taken a

variety of educational classes, engaged with UNICOR, and her single disciplinary infraction came

three and a half years ago. Her original sentence was for 96 months imprisonment. She has now




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served 67 months. (Doc. No. 63). The Court finds she no longer presents a danger to the public

and that her continued detention is no longer appropriate. 18 U.S.C. § 3553(a).

       Accordingly, Ms. Hampton’s Motion and Supplemental Motion for Compassionate

Release (Doc. Nos. 74 and 77) are GRANTED. Ms. Hampton’s sentence is reduced to TIME

SERVED. She has an appropriate release plan in place and the Defendant shall be released

immediately.

       Her original term of supervision for three years will begin immediately upon release, with

the following additional conditions:

       1) She will spend the first 14-days in quarantine according to CDC recommendations.

       2) The Defendant shall participate in a program of drug testing and substance abuse
          treatment which may include a 30-day inpatient treatment program followed by up to
          90 days in a community correction center at the direction of the United States Probation
          Office. The Defendant shall pay all or part of the cost for substance abuse treatment if
          the United States Probation Office determines the defendant has the financial ability to
          do so or has appropriate insurance coverage to pay for such treatment.

All other conditions of her supervised release will remain the same.

       IT IS SO ORDERED.

                                             ____________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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